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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IDEDA ANTOSI,
                               Plaintiff,

                        -against-                               23-cv-00395 (JLR)
 MG LLC and PRESIDIO INTERACTIVE                                ORDER
 CORPORATION,
                               Defendants.


JENNIFER L. ROCHON, United States District Judge:

       For the reasons stated on the record during the May 18, 2023 Conference, Defendants’

request to bifurcate discovery is GRANTED. The parties shall have 90 days to complete

discovery on Plaintiff’s individual claim, including whether Plaintiff consented to receiving

the calls. By May 25, 2023, the parties shall file a proposed discovery schedule including

proposed deadlines for dispositive motion practice, if any.

       The parties may file a letter requesting a referral to the S.D.N.Y mediation program or

to the assigned Magistrate Judge for a settlement conference at any time if they believe it

would be helpful.


Dated: May 18, 2023
       New York, New York

                                                          SO ORDERED.



                                                          JENNIFER L. ROCHON
                                                          United States District Judge
